      Case 2:18-cr-00171-TLN Document 130 Filed 08/21/20 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                  )     Case №: 2:18-cr-00171-MCE
                                                )
11                  Plaintiff,                  )
                                                )                   ORDER
12           vs.                                )              APPOINTING COUNSEL
                                                )
13   AGUSTIN CRUZ-SANCHEZ,                      )
                                                )
14                  Defendant.                  )
                                                )
15
16
            CJA attorney Hayes H. Gable was relieved in court on August 06, 2020. CJA Panel
17
     attorney Toni White is hereby appointed effective August 19, 2020, the date the Office of the
18
     Federal Defender contacted her.
19
            APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
20
     SUPPORTING APPOINTMENT.
21
            IT IS SO ORDERED.
22
     Dated: August 21, 2020
23
24
25
26
27
28
